            Case 5:19-cv-00552-RBF Document 18 Filed 09/11/19 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


VICTOR MEJIA RIOS, INDIVIDUALLY                    §
AND AS NEXT FRIEND W.D.M.R, ET                     §
AL.                                                §                 5-19-CV-00552-RBF
                                                   §
                    Plaintiffs,                    §
                                                   §
vs.                                                §
                                                   §
THE GEO GROUP, INC.,                               §
                                                   §
                    Defendant.                     §

         ORDER REGARDING PRETRIAL MATTERS AND PENDING MOTIONS

         Before the Court is the status of the above-referenced case, which was assigned to me for

disposition on September 4, 2019 following the parties’ consent. See Dkt. Nos. 14, 16 & 17. IT

IS ORDERED that this case is set for an Initial Pre-Trial Conference, pursuant to Federal Rule

of Civil Procedure 16, on October 16, 2019 at 10:00 a.m. in Courtroom A on the 4th Floor of

the John H. Wood, Jr. United States Courthouse, 655 E. Cesar Chavez Boulevard, San Antonio,

Texas, 78206. The parties should be prepared to discuss entry of a Scheduling Order, any other

matters set forth in Rule 16(c)(2), and any motions that may be pending at the time of the

conference.

         On or before October 9, 2019, the parties shall confer in the manner required by Rule

26(f) of the Federal Rules of Civil Procedure and submit a Joint Discovery/Case Management

Plan that answers the following questions:

      1. What is the basis for subject-matter jurisdiction? Are there any outstanding jurisdictional
         issues? For cases premised on diversity jurisdiction, provide the citizenship of each party1


1
  The parties are reminded that the Court has a duty to examine its subject matter jurisdiction.
Howery v. Allstate Ins. Co., 243 F.3d 912, 919 (5th Cir. 2001). In diversity cases, the “court must
be certain that all plaintiffs have a different citizenship from all defendants,” Getty Oil Corp. v.
Ins. Co. of N. Am., 841 F.2d 1254, 1258 (5th Cir. 1988), and it is the obligation of the party
asserting federal jurisdiction to “distinctly and affirmatively allege” the citizenship of the parties.
Howery, 243 F.3d at 919. If either party is an LLC, the citizenship of each member of the LLC
                                                    1
          Case 5:19-cv-00552-RBF Document 18 Filed 09/11/19 Page 2 of 3



       and explain whether or not the parties agree that the amount in controversy exceeds
       $75,000. For removal cases, explain whether the parties agree that the amount in
       controversy exceeded $75,000 at the time of removal. If there is any disagreement on
       these issues, each party should state its respective position.

   2. Are there any unserved parties? If more than 90 days have passed since the filing of the
      Complaint or Petition, should any unserved parties be dismissed?

   3. What are the causes of action, defenses, and counterclaims in this case? What are the
      elements of the cause(s) of action, defenses, and counterclaims pled?

   4. Are there any agreements or stipulations that can be made about any facts in this case or
      any element in the cause(s) of action?

   5. State the parties’ views and proposals on all items identified in Fed. R. Civ. P. 26(f)(3).

   6. What, if any, discovery has been completed? What discovery remains to be done? Have
      the parties considered conducting discovery in phases?

   7. What, if any, discovery disputes exist or are anticipated?

   8. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
      Rule of Evidence 502?

   9. Have the parties discussed mediation? Is this a case that could be mediated early and
      effectively with limited discovery? If so, what discovery is essential to any early
      mediation and how could it be structured to streamline an early mediation?

       The Court will address the substance of the parties’ joint report and discovery plan at the

Initial Pretrial Conference.

       Finally, those appearing before the Court are advised of the following matters. First,

counsel should refrain from communicating with the Courtroom Deputy or other court staff

concerning substantive matters. Substantive communications with the Court should be conducted

via officially filed documents. Nondispositive motions filed with the Court—even where the

opposing party is proceeding pro se—must include a certificate of conference, as indicated in the

Local and Federal Rules, reflecting a good-faith, diligent effort to resolve the disputed issue that

is the subject of the motion. See Local Rule CV-7(i) (applying to all nondispositive motions); see



should be provided. See Tewari De-Ox Systems, Inc. v. Mountain States/Rosen, LLC, 757 F.3d
481, 483 (5th Cir. 2014).
                                           2
         Case 5:19-cv-00552-RBF Document 18 Filed 09/11/19 Page 3 of 3



also Fed. R. Civ. P. 37(a)(1) (applying to discovery disputes). While email or letter

correspondence with opposing counsel may on some occasions be appropriate—i.e., in the first

instance or to ensure the motion is unopposed—in the Court’s view, the best and most efficient

way to comply with the conference requirement is through either an in-person meeting or actual

conversation by telephone.2 Accordingly, absent extenuating circumstances, a certificate of

conference noting one or two unsuccessful attempts to confer—particularly where the attempts

occur the day the motion is filed—will be disfavored and may result in denial of the requested

relief. See Local Rule CV-7(i). Finally, reasonable requests for deadline extensions that do not

threaten meaningful prejudice to the client typically should not be opposed. See Local Rule AT-

4(b); see also Ex M to Local Rules. At the same time, the Court frowns upon last-minute

requests for extensions or continuances, unless there is a genuine emergency or extenuating

circumstances.

       IT IS SO ORDERED.

       SIGNED this 11th day of September, 2019.




                                      RICHARD B. FARRER
                                      UNITED STATES MAGISTRATE JUDGE




2
  See, e.g., Compass Bank v. Shamgochian, 287 F.R.D. 397, 400 (S.D. Tex. 2012) (noting that a
single letter unilaterally identifying alleged flaws in discovery responses and setting an arbitrary
response deadline is insufficient to comply with the conference requirement, “as it does not
equate to a good faith conferral or attempt to confer); Care Envtl. Corp. v. M2 Techs. Inc., No.
CV-05-1600 (CPS), 2006 WL 1517742, at *1, 3 (E.D.N.Y. May 30, 2006) (explaining, “confer”
means to “meet, in person or by telephone, and make a genuine effort to resolve the dispute”);
Local Rule AT-4(e) (“When a discovery dispute arises, opposing lawyers should attempt to
resolve it by working cooperatively together.”).
                                                   3
